Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 23-21060-CV-WILLIAMS

  MELINDA GELENG,

         Plaintiff,

  v.

  INDEPENDENT LIVING SYSTEMS, LLC,

         Defendant.
                                            /

                                          ORDER

         THIS MATTER is before the Court on Plaintiff’s Motion to Consolidate Cases (DE

  8) (“Motion”).      Defendant Independent Living Systems, LLC (“Defendant”) filed a

  response in which it indicated that it does not oppose the Motion. (DE 12.) In the Motion,

  Plaintiff seeks to consolidate for both pre-trial and trial purposes pursuant to Federal

  Rule of Civil Procedure 42(a) the putative class action cases pending in this district

  relating to the alleged July 2022 data breach by an unauthorized third party on certain

  of Defendant’s systems (collectively, the “Related Actions”). These cases are:

          1.     1:23-cv-21060       Geleng v. Independent Living Systems, LLC
                                     (S.D. Fla.) (filed Mar. 17, 2023)

          2.     1:23-cv-21061       Basulto v. Independent Living Systems, LLC
                                     (S.D. Fla.) (filed Mar. 19, 2023)

          3.     1:23-cv-21071       Riggins v. Independent Living Systems, LLC
                                     (S.D. Fla.) (filed Mar. 20, 2023)

          4.     1:23-cv-21093       Koester v. Independent Living Systems, LLC
                                     (S.D. Fla.) (filed Mar. 21, 2023)

          5.     1:23-cv-21098       Jensen v. Independent Living Systems, LLC
                                     (S.D. Fla.) (filed Mar. 21, 2023)


                                         Page 1 of 6
Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 2 of 6




         6.     1:23-cv-21131      Holcombe v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 22, 2023)

         7.     1:23-cv-21134      Cliver v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 22, 2023)

         8.     1:23-cv-21148      Ramirez v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 22, 2023)

         9.     1:23-cv-21154      Perez v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 23, 2023)

         10.    1:23-cv-21193      Fisher v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 27, 2023)

         11.    1:23-cv-21200      Berres v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 27, 2023)

         12.    1:23-cv-21221      Gutierrez v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 29, 2023)

         13.    1:23-cv-21225      McMullen v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 29, 2023)

         14.    1:23-cv-21226      Crockett v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Mar. 29, 2023)

         15.    1:23-cv-21286      Berg v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Apr. 4, 2023)

         16.    1:23-cv-21323      Salzano v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Apr. 6, 2023)

         17.    1:23-cv-21433      Isip v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Apr. 14, 2023)

         18.    1:23-cv-21470      Le Phung v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed Apr. 18, 2023)

         19.    1:23-cv-21837      Swaim v. Independent Living Systems, LLC
                                   (S.D. Fla.) (filed May 17, 2023)

        Having reviewed the Motion and having found that the cases involve some

  allegations of the same issues of fact and law, grow out of the same alleged data breach



                                        Page 2 of 6
Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 3 of 6




  involving Defendant, have many of the same claims, and have proposed class definitions

  that will encompass the same persons, this Court determines, without making any

  findings on the merits of the claims or the propriety of class certification, that the cases

  have sufficient commonality of issues and parties to warrant consolidating the cases

  under Rule 42 and this District’s Internal Operating Procedures. This Court further finds

  that the benefits of consolidation are not outweighed by any risk of prejudice or jury

  confusion. The effect of such consolidation will be judicial economy and preserving the

  Parties’ resources, as well as avoiding disparate rulings in separate actions.

         Accordingly, because this Court finds that the Related Actions have met the

  standard for consolidation under Rule 42 and that consolidation does not increase the

  risk of an unfair outcome, it is ORDERED AND ADJUDGED that the Motion (DE 8) is

  GRANTED as follows:

         1.     The above-listed actions shall be CONSOLIDATED for all purposes into

  the Geleng action, which is the lowest numbered case. All future pleadings, motions,

  briefs, and other papers shall be filed in the Geleng action, Case No. 1:23-cv-21060

  which shall hereinafter be a Consolidated Action. The Clerk is DIRECTED to CLOSE

  the remaining actions: Basulto (Case No. 1:23-cv-21061), Riggins (Case No. 1:23-cv-

  21071), Koester (Case No. 1:23-cv-21093), Jensen (Case No. 1:23-cv-21098),

  Holcombe (Case No. 1:23-cv-21131), Cliver (Case No. 1:23-cv-21134), Ramirez (Case

  No. 1:23-cv-21148), Perez (Case No. 1:23-cv-21154), Fisher (Case No. 1:23-cv-21193),

  Berres (Case No. 1:23-cv-21200), Gutierrez (Case No. 1:23-cv-21221), McMullen (Case

  No. 1:23-cv-21225), Crockett (Case No. 1:23-cv-21226), Berg (Case No. 23-cv-21286),

  Salzano (Case No. 1:23-cv-21323), Isip (Case No. 1:23-cv-21433), Le Phung (Case No.



                                          Page 3 of 6
Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 4 of 6




  1:23-cv-21470), and Swaim (Case No. 1:23-cv-21837).

         2.     All previously entered deadlines in the Related Actions are vacated as

  MOOT. All pending motions in the Related Actions are DENIED AS MOOT.

         3.     All papers filed in the Consolidated Action shall be filed under Case No.

  1:23-cv-21060, the number assigned to the first-filed case, and shall bear the following

  caption: In re Independent Living Systems Data Breach Litigation, Case No. 23-cv-

  21060-KMW.

         4.     The case file for the Consolidated Action will be maintained under Master

  File No. 1:23-cv-21060. The Clerk is DIRECTED to establish a Master File. When a

  pleading is intended to apply to all actions to which this Order applies, the words “All

  Actions” shall appear immediately after the words “This Document Relates To:” in the

  caption described above. When a pleading is not intended to apply to all actions, the

  docket number for each individual action to which the paper is intended to apply and the

  last name of the first-named plaintiff in said action shall appear immediately after the

  words “This Document Relates To:” in the caption identified above, e.g., “Case No. 1:23-

  cv-21061 (Basulto).”

         5.     Each new case that arises out of the subject matter of the Consolidated

  Action, which is filed in this Court or transferred to this Court, shall be consolidated with

  the Consolidated Action and this Order shall apply thereto, unless a party objects to

  consolidation, as provided for herein, or to any provision of this Order, within ten (10)

  days after the date upon which a copy of this Order is served on counsel for such party.

  Such party shall object by filing an application for relief, and this Court shall determine

  whether it is appropriate to grant such application. Nothing in the forgoing shall be



                                          Page 4 of 6
Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 5 of 6




  construed as a finding concerning the merits, validity, or propriety of the claims or class

  allegations in the Related Actions, as a waiver of Defendant’s right to object to

  consolidation of any subsequently-filed or transferred related action, or as a waiver of

  Defendant’s substantive rights or defenses, including its right to seek dismissal or

  otherwise contest the merits of Plaintiff’s claims or to oppose any of the requirements for

  class certification.

         6.      As directed at the hearing held before this Court on July 12, 2023,

  Defendant, an LLC, must identify each member of the LLC and establish each member’s

  citizenship in a notice filed with the Court, supported by an affidavit, no later than

  August 7, 2023.

         7.      The Parties shall have until August 21, 2023 to submit a leadership

  structure setting forth the Lead Plaintiff and Class Counsel. If the Parties are unable to

  come to a consensus prior to this deadline, the Parties must submit applications for

  appointment of Lead Plaintiff and Class Counsel no later than September 5, 2023. The

  application briefs shall be limited to fifteen (15) pages and each application may include

  no more than fifteen (15) pages of attachments. Defendant may file a response of up to

  five (5) pages no later than September 11, 2023.

         8.      Plaintiffs shall file a Consolidated Amended Complaint no later than 45

  days following the appointment of Lead Plaintiff and Class Counsel.

         9.      Defendant shall have 30 days from the filing of the Consolidated Amended

  Complaint to file a motion to dismiss or otherwise respond thereto, Plaintiffs shall have

  30 days thereafter to file their opposition, and Defendant shall have 21 days thereafter

  to file a reply in support.



                                         Page 5 of 6
Case 1:23-cv-21060-KMW Document 21 Entered on FLSD Docket 07/31/2023 Page 6 of 6




         10.       This Order shall apply to the above-captioned matters, any subsequently

  consolidated action, any actions consolidated with the above-captioned matters, and any

  actions filed in or transferred or removed to this Court relating to the fact and the data

  breach underlying this litigation.

         DONE AND ORDERED in Chambers in Miami, Florida, this 31st day

  of July, 2023.




                                          Page 6 of 6
